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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE SOUTHERN DISTRICT OF TEXAS

                                         LAREDO DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
VS.                                               §              CASE NO. L-05-MJ-2984-01
                                                  §
ANA LAURA ROBLES,                                 §
                                                  §

                          ORDER OF DETENTION PENDING TRIAL

        A detention hearing in accordance with 18 U.S.C. §3142(f) has been held in this case. I find that

the following facts are established by clear and convincing evidence and that they REQUIRE THE

DETENTION of the defendant, ANA LAURA ROBLES, pending trial in this case.

                                         FINDINGS OF FACT

1) There exists probable cause to believe that the Defendant has committed an offense for which the
maximum term of imprisonment is ten (10) years or greater as defined by the Controlled Substances Act
(21 U.S.C. §801 et. seq.).

2) The Defendant, while a U.S. Citizen, has substantial ties to Mexico and has lived most of her life in
Nuevo Laredo, Tamaulipas, Mexico.

                                    REASONS FOR DETENTION

        The evidence contained in the criminal complaint establishes probable cause to believe the
Defendant has violated 21 U.S.C. §841(a)(1). This charge provides for a maximum sentence of ten (10)
years or more imprisonment under the Controlled Substances Act (21 U.S.C. § 801 et. seq.). Since
probable cause exists to believe that the Defendant committed these crimes, a rebuttable presumption arises
that no condition or combination of conditions will reasonably assure the appearance of the defendant as
required and the safety of the community. The Defendant has failed to produce facts which will rebut this
presumption in light of the findings above. Therefore, pre-trial detention is warranted in this case.

                             DIRECTIONS REGARDING DETENTION

        The Defendant is committed to the custody of the United States Marshal for the Southern District
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of Texas, Laredo, Texas for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal. The Defendant shall be
afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections
facility shall deliver the Defendant to the United States Marshal for the purpose of an appearance in
connection with a court proceeding.

        DONE at Laredo, Texas, this 16th day of December, 2005.




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                                                    FELIX RECIO
                                         UNITED STATES MAGISTRATE JUDGE




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